196 F.2d 1022
    52-1 USTC  P 9356
    COMMISSIONER OF INTERNAL REVENUEv.J. P. QUIRK.COMMISSIONER OF INTERNAL REVENUEv.ESTATE of W. M. WRIGHT, Deceased, Mrs. Ollie Belle Wright, Executrix.
    Nos. 13782, 13783.
    United States Court of Appeals Fifth Circuit.
    June 12, 1952.
    
      Helen Goodner, Ellis N. Slack, Robert N. Anderson, Irving I. Axelrad, Sp. Assts. to Atty. Gen., Theron Lamar Caudle, Asst. Atty. Gen., Charles Oliphant, Chief Counsel, Bureau of Internal Revenue, Claude R. Marshall, Sp. Atty., Washington, D.C., for petitioner.
      W. H. Harris, Scott R. Williams, Fort Valley, Ga., for respondent.
      Before HUTCHESON, Chief Judge, and RUSSELL and STRUM, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appealing from decisions and orders of the Tax Court in the above styled and numbered causes, which by order of this court have been consolidated on appeal, the Commissioner seeks their reversal.
    
    
      2
      In the opinion of the Tax Court,1 the facts as stipulated and proved are fully and correctly found, and the reasons for the decisions are as carefully and correctly set down.
    
    
      3
      Agreeing, as we do, with the views, the findings, and conclusions of the Tax Court, we refer to them with approval, and, for the reasons given in its opinions, we affirm the decisions and orders appealed from.
    
    
      
        1
         15 T.C. 709
      
    
    